
CALLAHAN, Circuit Judge,
dissenting:
This is a standard habeas case governed by AEDPA that requires us to evaluate the reasonableness of the state court’s determination that an error — here, an error made by defense counsel — was not prejudicial. In a unanimous 57-page opinion, the California Supreme Court found that under Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984), James Edward Hardy did not receive competent representation from his trial- lawyer, who failed to discover evidence tending to show that Hardy was not the person who stabbed the mother and child to death. In re Hardy, 41 Cal.4th 977, 1019-21, 63 Cal.Rptr.3d 845, 163 P.3d 853 (2007). Accordingly, the California Supreme Court vacated his death penalty. Applying Strickland’s prejudice test, however, the court affirmed his conviction as a conspirator and an aider and abettor, because the overwhelming evidence of Hardy’s participation in the crime was not undermined by the post-conviction evidence suggesting that another person did the actual stabbing. Id. at 1021-30, 63 Cal.Rptr.3d 845, 163 P.3d 853.
The only issue certified by the district court for appeal is the California Supreme Court’s determination that Hardy has failed to show that his conviction as a conspirator and abettor was undermined by his trial attorney’s failure to uncover evidence that another person butchered the victims. Under AEDPA, we may not grant relief unless Hardy shows that the California Supreme Court’s decision applied Strickland in an “objectively unreasonable” manner. Davis v. Ayala, — U.S. -, 135 S.Ct. 2187, 2198, 192 L.Ed.2d 323 (2015).
As recently reaffirmed in our en banc opinion, where “it is possible to read the state court’s decision in a way that comports with clearly established federal law ... we must do so.” Mann v. Ryan, 828 F.3d 1143, 1156-58, 2016 WL 3854234, at *11 (9th Cir. 2016) (en banc). This reflects the Supreme Court’s admonishments in Ayala that:
under AEDPA, “a federal court may not award habeas relief under § 2254 unless the harmlessness determination itself was unreasonable.” And a state-court decision is not unreasonable if “‘fair-minded jurists could disagree’ on [its] *1145correctness.” [A petitioner] therefore must show that the state court’s decision to reject his claim “was so lacking in justification that there was an error well understood and comprehended in existing law beyond any 'possibility for fair-minded disagreement.”
135 S.Ct. at 2199 (internal citations omitted) (second emphasis added).
Rather than follow the Supreme Court’s directions, the majority manufactures a legal standard that the state supreme court never utilized and refuses to recognize the reasonableness of the alternative bases of guilt identified by that court. Because the majority’s rationale and conclusion are contrary to AEDPA and to the Supreme Court’s opinions interpreting the AEDPA standard of review, I dissent.
I. Background
Thirty-seven years ago, at the behest of Clifford Morgan, Mark Anthony Reilly and Hardy plotted to murder Morgan’s wife, Nancy, and their eight-year-old son, Mitchell. In exchange for their hard work, Morgan promised to reward the two handsomely, with money from the insurance proceeds he intended to collect from the deaths. The morning after Morgan gave final approval to proceed with the murders, a neighbor found Nancy’s and Mitchell’s bloody, lifeless bodies in the bedroom of the Morgan’s Van Nuys home. The two had been knifed to death — Morgan’s wife had been stabbed 45 times and their son 21 times.
Morgan, Reilly and Hardy were arrested for the killings and charged with first degree murder and conspiracy to commit murder to collect life insurance proceeds. Cal. Penal Code §§ 182, 187. The amended information listed 24 overt acts committed by the men in furtherance of the conspiracy. The acts involving Hardy include: taking an M-l rifle from the Morgan home on May 20 or 21 to make the murders appear to have been committed in the course of a robbery/burglary; participating in the arrangements the trio made to ensure that Morgan would be out of town when the murders took place; receiving instruction from Reilly as to how to commit the murders; meeting Reilly on May 20 to formulate their alibi with Colette Mitchell; and accompanying Reilly to burglarize the Morgan home, which Reilly accomplished by using a key supplied by Morgan to gain entry, and bolt cutters to disguise the purpose of the killings. Because the conspiracy continued after the murders took place, the information also listed several acts committed by Hardy while in pre-trial custody: he assisted Reilly in fabricating an alibi and/or a confession or testimony to enable Morgan to collect insurance proceeds, and a defense that would pin the murders on someone else; he communicated with Reilly over 60 times and joined him in conveying to other co-conspirators testimony given at the preliminary hearing, and in “formulating]” their hearing testimony; and he arranged to have his brother dispose of the M-l rifle taken from the Morgan home.
Hardy, Reilly and Morgan were tried together in Los Angeles (pounty Superior Court. At trial, Debbie Sportsman, Reilly’s girlfriend, and Colette Mitchell, Hardy’s girlfriend, provided key testimony linking Hardy to the murders. Sportsman testified that Hardy kept company with Reilly in the days before and after the murders. She also recounted that Hardy was present in Reilly’s apartment during Reilly’s telephone conversation with Morgan several hours before the killings. Colette testified that she was with Hardy the night before the murders and that, although she was not sure whether Hardy left the apartment between 2 a.m. and 11 a.m. the following day, he told her on two occasions that he had been to the victims’ home on the night of the murders. Hardy frequently discussed his alibi with her in the days *1146following the murders and told her that bolt cutters had been used to enter the victims’ house. He also told her that Reilly was in charge, that insurance proceeds were the reason for the killing, and that Morgan was not worried about the delay caused by the trial because his insurance proceeds were earning 12 % percent interest. Colette further recalled that Hardy received $1,000 in $100 bills after the murders. Finally, Colette testified that as a pre-trial detainee, Hardy instructed her to destroy a pair of shoes that he feared would match a footprint discovered at the crime scene, and to help him dispose of an M-l carbine rifle allegedly stolen from Morgan’s home.
At the State’s urging, the trial court permitted the jury to consider whether Hardy conspired to commit murder, or aided and abetted the killings. Regarding conspiratorial liability, the court explained that a conspirator includes a person “who, whether present or not at the commission or attempted commission of a crime, advise[s] and encourage[s] in its commission or attempted commission.” Hardy, 41 Cal.4th at 1026, 63 Cal.Rptr.3d 845, 163 P.3d 853. Such a person is “regarded by the law as [a] principal ] in the crime ... and equally as guilty.” Id. In defining a conspiracy, the court instructed that it is “an agreement” to commit a crime “followed by an overt act committed in this state by one of more persons of the parties for the purpose of accomplishing the object of the agreement.” Id. at 1027, 63 Cal.Rptr.3d 845, 163 P.3d 853. The jury received a copy of the amended information listing the alleged overt acts. Id. at 1026, 63 Cal.Rptr.3d 845, 163 P.3d 853. In turn, the prosecutor argued that “based upon the facts of this case, ... if one conspires to commit a murder for the purposes of collecting insurance, what is it other than premeditation and deliberation [justifying a verdict of first degree murder]?” Id. at 1027, 63 Cal.Rptr.3d 845, 163 P.3d 853. The prosecutor further argued: “We submit to you that Mr. Hardy joined that conspiracy, and when he joins the conspiracy, he adopts those acts [committed by Reilly and Morgan].” Id. at 1027-28, 63 Cal.Rptr.3d 845, 163 P.3d 853.
The jury heard similar instructions and argument regarding aiding and abetting liability. The court defined an aider and abettor as someone who “aids, promotes, encourages or instigates by act or advice the commission” of a crime and explained that such person is “liable for the natural and reasonable or probable consequences of any act that he knowingly aided or encouraged.” Id. at 1029, 63 Cal.Rptr.3d 845, 163 P.3d 853. The prosecutor argued this theory of guilt to the jury: “[i]f you find that this is a first degree murder and if you find that each one of these individuals [Hardy, Morgan and Reilly] participated in that, either by aiding, abetting, by personally becoming involved, by encouraging, by soliciting, by aiding and abetting, each one of them individually [is guilty of first degree murder].” Id. at 1029-30, 63 Cal.Rptr.3d 845, 163 P.3d 853 (second brackets by state court).
The jury convicted Hardy, Morgan and Reilly of two counts of first degree murder, one for Nancy and one for Mitchell. Moreover, convinced that the three participated in a scheme to murder the victims and thus were jointly culpable for the deaths regardless of who performed the actual killings, the jury separately convicted each defendant of one count of conspiracy to commit murder to collect life insurance proceeds. Hardy and Reilly were sentenced to death.1 The convictions were *1147affirmed on direct appeal to the California Supreme Court. Hardy, 2 Cal.4th at 216, 5 Cal.Rptr.2d 796, 825 P.2d 781.
II. State and Federal Habeas Proceedings
A. State Habeas Decision
In 2007, the California Supreme Court affirmed Hardy’s conviction in state habe-as proceedings. Hardy claimed, among other things, that defense counsel unreasonably and prejudicially failed to investigate and present significant evidence indicating that he was innocent of murder and that Calvin Boyd was probably the person who killed Nancy and Mitchell Morgan. An evi-dentiary hearing revealed incriminating evidence against Boyd. The court found that this evidence, while failing to demonstrate Hardy’s innocence, created substantial doubt that he personally stabbed the victims, thus undermining confidence in the sentence. The court vacated Hardy’s death sentence on this basis.2
The court upheld the guilty verdict, however, because counsel’s failure to discover and present the Boyd evidence did not undermine confidence in the jury’s determination that Hardy was guilty of murder as a co-conspirator. Hardy, 41 Cal.4th at 1021-30, 1036, 63 Cal.Rptr.3d 845, 163 P.3d 853. Recognizing Strickland’s, requirement that a defendant establish the prejudice he has allegedly suffered because of counsel’s deficient representation, the court required Hardy to show that “there is a ‘reasonable probability that, but for counsel’s unprofessional errors, the result of the [trial] would have been different.’ ” Id. at 1018, 63 Cal.Rptr.3d 845, 163 P.3d 853 (quoting In re Avena, 12 Cal.4th 694, 721, 49 Cal.Rptr.2d 413, 909 P.2d 1017 (1996)).3 Based on Supreme Court precedent, the court defined “reasonable probability” as “a probability sufficient to undermine confidence in the outcome.” Id.
Guided by these principles, the California Supreme Court considered whether post-conviction evidence that Boyd stabbed the victims undermined confidence in the guilty verdict. The court did- so by “weighing [the] evidence and considering what petitioner’s trial would haiie looked like had he been represented by competent counsel.” Id. at 1030, 63 Cal.Rptr.3d 845, 163 P.3d 853. The court recognized that “although the prosecutor proceeded primarily on the theory that petitioner was the actual killer, he also presented to the jury two theories of derivative liability: conspiracy, and aiding and abetting.” Id. at 1025, 63 Cal.Rptr.3d 845, 163 P.3d 853. Citing the accusatory instrument, the jury instructions and the prosecutor’s closing arguments, the court found that the prosecution had adequately presented both alternative theories for the jury’s consideration. The court then determined that Debbie Sportsman’s and Colette Mitchell’s testimony “strongly” demonstrated that “[Hardy] conspired with, and aided and abetted, Reilly, Morgan and others” to kill Nancy and Mitchell Morgan for financial gain. Id. at 1028-30, 63 Cal.Rptr.3d 845, 163 P.3d 853. The court concluded that Hardy failed to meet Strickland’s prejudice prong as to his guilt as a conspirator and an abettor.
*1148B. Federal Habeas Decision
Hardy challenged the California Supreme Court’s 2007 decision in habeas proceedings in federal court. The district court denied his petition but certified one issue for appellate review: whether the California Supreme Court reasonably concluded that Hardy was not prejudiced as a result of counsel’s failure to uncover and expose the fact that Boyd was the likely killer. This is the narrow question we must answer on appeal.
III. Standard of Review
We review the district court’s decision de novo, but apply AEDPA’s “highly deferential standards” to the underlying state court decision. Ayala, 135 S.Ct. at 2198; Mann, 828 F.3d at 1151-53, 2016 WL 3854234, at *7. Under AEDPA, a claim that is adjudicated on the merits in state court may be reviewed by a federal court only to determine whether its adjudication was “contrary to, or involved an unreasonable application of, clearly established Federal law, as determined by the Supreme Court of the United States,” or (2) was “based on an unreasonable determination of the facts in light of the evidence presented at the State Court proceeding.” 28 U.S.C. § 2254(d); Ayala, 135 S.Ct. at 2198. The Supreme Court continues to require that we rigorously apply AEDPA’s deferential mandate. Ayala, 135 S.Ct. at 2198-99; Harrington v. Richter, 562 U.S. 86, 100-04, 131 S.Ct. 770, 178 L.Ed.2d 624 (2011). As part of that mandate, we must “presum[e] that state courts know and follow the law,” we must give state courts “the benefit of the doubt,” and we must make an “effort to reconcile” state courts’ reasoning with clearly established law. Woodford v. Visciotti, 537 U.S. 19, 24, 123 S.Ct. 357, 154 L.Ed.2d 279 (2002) (per curiam).
IY. Deference to the California Supreme Court Is Required
A. The California Supreme Court’s Correct Application of Strickland’s “Reasonable Probability” Standard
Under AEDPA’s “contrary to” clause, we examine whether “the state court arrives at a conclusion opposite to that reached by [the Supreme] Court on a question of law or if the state court decides a case differently than [the Supreme] Court on a set of materially indistinguishable facts.” Mann, 828 F.3d at 1151, 2016 WL 3854234, at *7 (quoting Williams v. Taylor, 529 U.S. 362, 412-13, 120 S.Ct. 1495, 146 L.Ed.2d 389 (2000)).
■ Here, the state court began its prejudice analysis by reciting the Strickland standard verbatim, setting forth the “reasonable probability” test. It then proceeded to conduct three critical inquiries derived from the Supreme Court’s decision in Rompilla v. Beard, 545 U.S. 374, 125 S.Ct. 2456, 162 L.Ed.2d 360 (2005). In Rompilla, the Supreme Court found Strickland prejudice where counsel failed to discover mitigating evidence about the petitioner’s disadvantaged background. 545 U.S. at 390-93, 125 S.Ct. 2456. Had counsel investigated his client’s imprisonment record, the Court held, he would have discovered critical information that would likely have influenced the jury not to sentence him to death. Id.
Based on Rompilla, the California Supreme Court assessed Hardy’s prejudice claim by asking: “What evidence was available that counsel failed reasonably to discover? How strong was that evidence? How strong was the evidence of guilt produced at trial?” Hardy, 41 Cal.4th at 1021-22, 63 Cal.Rptr.3d 845, 163 P.3d 853 (citing In re Thomas, 37 Cal.4th 1249, 1265, 39 Cal.Rptr.3d 845, 129 P.3d 49 (2006)).4 The *1149court answered each of these questions, beginning with a recap of the new evidence implicating Boyd in the murders. The court then analyzed the trial evidence purporting to show that Hardy personally stabbed the victims and determined that the evidence was “weak and circumstantial.” Id. at 1022, 63 Cal.Rptr.3d 845, 163 P.3d 853. Finally, the court considered what trial evidence linked Hardy to the murder conspiracy and determined that the testimony from Hardy’s and Reilly’s girlfriends supported not only that theory, but also the State’s aiding and abetting theory of guilt. The California Supreme Court’s measured approach led to the principled decision to affirm Hardy’s conviction. Hardy, 41 Cal.4th at 1036, 63 Cal.Rptr.3d 845, 163 P.3d 853.
The majority cannot bring itself to defer to the California Supreme Court’s conclusion or methodology, however. To circumvent AEDPA, the majority fragments the state court opinion in a way that distorts the court’s prejudice formulation, making it appear as if the court embraced a test that was “contrary to” Strickland. In so doing, the majority defies Supreme Court precedent and our recently reaffirmed mandate that we must “read the [state court] decision to comport with clearly established federal” where it is possible to do so. Mann, 828 F.3d at 1156-58, 2016 WL 3854234, at *11; see Visciotti, 537 U.S. at 24, 123 S.Ct. 357.
In Mann, we applied this principle to a state court decision where “the court did not clearly state the [prejudice] standard it applied.” Mann, 828 F.3d at 1157, 2016 WL 3854234, at *11. We “[r]ead[] the opinion as a whole” and made the “logical inference” that the state court applied the correct “reasonable probability” standard and not, as the petitioner contended, the “more-likely-than-not” standard. Id. We based our conclusion on various factual findings relevant to the petitioner’s mitigation profile and the state court’s reference to a “controlling]” Arizona Supreme Court decision adopting the “reasonable probability” standard. Id.
Much like the petitioner in Mann, the majority argues that the state court employed a prejudice test that was “significantly harsher than the deafly established test from Strickland,” “creating] a much higher bar for Hardy than the law require[s].” Maj. Op. 1136, 1136-37. The majority opines that the state decision applied a “substantial evidence” test — relevant to a sufficiency-of-the-evidence challenge — that impermissibly burdened Hardy with “demonstrating] that had counsel performed adequately there would not have been sufficient evidence for a jury to convict” him. Maj. Op. 1136.
The California Supreme Court made no such blunder. The court used the term “substantial evidence” interchangeably with “ample evidence” or “overwhelming evidence” to underscore the strong evidence of Hardy’s guilt as a cbnspirator and an abettor.5 Given that the éourt’s opinion *1150“painstakingly describes the Strickland standard,” its use of the term “substantial” and not another modifier of the majority’s choosing “may perhaps be imprecise, but ... it can no more be considered a repudiation of the standard than can [the Supreme] Court’s own occasional indulgence in the same imprecision.” Visciotti, 537 U.S. at 23-24, 123 S.Ct. 357. The California Supreme Court found that Hardy failed the “reasonable probability” test because the evidence that counsel failed to discover was of minimal weight as to Hardy’s participation in the murders, and was overwhelmed by other evidence of his role as a conspirator and as an aider and abettor.6
The majority assumes the worst of the state supreme court, however, refusing to even attempt to reconcile the state court’s use of the term “substantial evidence” with its proper framing of the Strickland prejudice standard. See id. at 24, 123 S.Ct. 357. “This readiness to attribute error is inconsistent with the ‘presumption that state courts know and follow the law.’ ”7 Mann, 828 F.3d at 1157, 2016 WL 3854234, at *11 (quoting Visciotti, 537 U.S. at 24, 123 S.Ct. 357). “Taken in context,” the California Supreme Court’s prejudice discussion demonstrates the great care the court took in weighing the evidence to determine whether the jury would have acquitted Hardy of murder under all theories of guilt had his attorney performed adequately. Id.; see Williams, 529 U.S. at 398-99, 120 S.Ct. 1495 (upholding the state trial judge’s “[Strickland prejudice] conclusion that the entire postconviction record, viewed as a whole and cumulative of mitigation evidence presented originally, raised ‘a reasonable probability that the result of the sentencing proceeding would have been different’ if competent counsel had presented and explained the significance of all the available evidence”).
“If [the Strickland] standard is difficult to meet, that is because it was meant to be.” Richter, 562 U.S. at 102, 131 S.Ct. 770. The Supreme Court has explained that a petitioner’s “reasonable probability” showing must be “substantial, not just conceivable.” Id. at 111-12, 131 S.Ct. 770 (citing Strickland, 466 U.S. at 693, 104 S.Ct. 2052). The majority acknowledges this requirement but somehow construes it to lighten a petitioner’s Strickland burden. Maj. Op. 1136. It is the quantity and quality of trial evidence, as impacted by counsel’s errors, that determines whether the probability of reasonable doubt is “substantial” or, as here, “just conceivable.” See Williams, 529 U.S. at 397-99, 120 S.Ct. 1495.
The majority’s misinterpretation of the California Supreme Court’s opinion reflects its failure to appreciate the issues raised in this appeal. The majority’s opinion “ignore[s] ‘the only question that matters’ ” in this case: “whether the state court’s application of the Strickland standard was unreasonable.” Richter, 562 U.S. at 102, 131 S.Ct. 770 (quoting Lockyer v. Andrade, 538 U.S. 63, 71, 123 S.Ct. 1166, *1151155 L.Ed.2d 144 (2003)). The proper inquiry would force the majority to consider “what arguments or theories” — here, for example, key testimony from Debbie Sportsman and Colette Mitchell — “supported ... or could have supported” the state supreme court’s determination that the jury verdict would not have changed had the missing evidence been presented. Id.
B. Reasonableness of the California Supreme Court’s Prejudice Determination
In determining the reasonableness of a state court decision, the Supreme Court requires that we not only consider the reasons offered by the state court, but also “what arguments or theories supported or ... could have supported, the state court’s decision.” Id. (emphasis added). We are directed to then “ask whether it is possible fairminded jurists could disagree that those arguments or theories are inconsistent with the holding in a prior decision of this Court.” Id. Applying these principles, the Supreme Court has held that “[a] state court’s determination that a claim lacks merit precludes federal habeas relief so long as ‘fairminded jurists could disagree’ on the correctness of the state court’s decision.” Id. at 101, 131 S.Ct. 770 (quoting Yarborough v. Alvarado, 541 U.S. 652, 664, 124 S.Ct. 2140, 158 L.Ed.2d 938 (2004)).
The California Supreme Court’s decision reflects its masterful grasp of the State’s multi-faceted case and why, in light of these nuances, Strickland precludes relief. In assessing the integrity of the jury verdict, the court examined the State’s approach to the defendants’ prosecution from arraignment to verdict. At the outset, it observed that the amended information charged Hardy with conspiracy and alleged a series of overt acts committed by Hardy in furtherance of the conspiracy. It then pointed to all the evidence — including the testimony of Debbie Sportsman and Colette Mitchell — that bore out these allegations. The damning evidence is worth repeating: Hardy and Reilly began associating with each other in the days leading up to the murders; Hardy was with Reilly in Reilly’s apartment when Morgan gave final approval to proceed With the murders; Hardy rehearsed his alibi with Colette frequently in the days following the murders; Hardy knew critical details about the crimes, including that life insurance proceeds were the reason underlying and payment for the murders; Reilly played a leadership role in the planning efforts; Hardy received $1,000 cash after the murders; and Hardy instructed Colette regarding the disposal of potentially incriminating evidence. Hardy, 41 Cal.4th at 1028-30, 63 Cal.Rptr.3d 845, 163 P.3d 853. Based on all the evidence, ,the prosecutor during summation called the jurors’ attention to the conspiracy and aiding and abetting instructions provided by the trial court and urged them to convict the three defendants as co-conspirators and as aiders and abettors to murder. The jury agreed, returning verdicts of first degree murder and conspiracy to commit murder.
The majority nonetheless chastises the California Supreme Court; for accepting the way in which the State prosecuted its case. It myopically insists that the prosecution’s entire case rose and fell on the theory that Hardy was the actual killer, but this is refuted by the record and the jury’s verdict. Even if there were less- evi-dentiary support for the California Supreme Court’s decision, the majority would still be • bound by the Supreme Court’s clear instruction to consider “what arguments or theories supported or ... could have supported, the state court’s decision.” Richter, 562 U.S. at 102, 131 S.Ct. 770; see Visciotti, 537 U.S. at 27, 123 S.Ct. 357 (“[U]nder § 2254(d)(1), it is not enough to convince a federal habeas court that, in its independent judgment, the state-court de-*1152cisión applied Strickland incorrectly. The federal habeas scheme leaves primary responsibility with the state courts for these judgments.”).
The majority’s contrary assessment of the evidence and legal arguments in this case turns on two errors of law. First, the majority asserts that “an aid-and-abet theory is wholly distinct from an actual killer theory and the jury could not simultaneously have found both true.” Maj. Op. 1138. But as we have recognized, the law permits the State to present factually inconsistent theories of guilt, within constitutional limits of course. See Taylor v. Beard, 811 F.3d 326, 327, 331 (9th Cir. 2016) (en banc) (state argued principal and aiding-and-abetting theories in the alternative). The majority’s logic begs the question: having charged Hardy with first degree murder, what leverage would the prosecution have gained by a conspiracy count, or an aiding-and-abetting instruction, premised on Hardy’s culpability as the actual killer? Nothing at all, since Hardy would be acting as a principal under all three theories of guilt.
Second, contrary to principles of conspiratorial liability, the majority contends that the acts Hardy committed in furtherance of the conspiracy are too “minor” to render him culpable for murder. Maj. Op. 1139. A conspiracy requires the commission of an overt act but does not distinguish between major and minor acts.8 As the California Supreme Court held on direct appeal, the conspiracy in this case was primarily one to defraud insurance companies. Hardy, 2 Cal.4th at 143-44, 5 Cal.Rptr.2d 796, 825 P.2d 781. The conspiracy continued until the co-conspirators received the insurance proceeds, or until Morgan was convicted of murder. Id. at 144, 5 Cal.Rptr.2d 796, 825 P.2d 781. Because the proceeds had not yet been paid at the time of trial, any of Hardy’s overt acts committed between the agreement to defraud and the trial — however minor that act may be in the eyes of the majority— was a cognizable basis for convicting him of conspiracy to commit murder to collect life insurance.
The majority’s fixation on the fact that part of the State’s case hinged on an actual killer theory undoubtedly clouds its judgment on habeas review. It deliberately ignores the other theories of culpability advanced by the prosecution and points only to the evidentiary shortcomings undermining the prosecution’s assertion that Hardy did the actual stabbing. But the California Supreme Court did not hide the ball with respect to these weaknesses. It recognized that no one reported seeing Hardy leave Reilly’s apartment the night of the murders; no witnesses placed Hardy at the crime scene; no blood, fingerprint, footprint, hair or other forensic evidence linked him to the crimes; and no murder weapon was recovered. Such evidence could have shored up the prosecution’s actual killer theory. But the shortcomings of the State’s principal liability theory did not necessarily undercut its alternative case *1153for conspiracy. So long as the State proved that Hardy intentionally participated in the murder plot, its case against all three defendants remained strong.
The majority’s dismissive attitude towards the state court’s careful treatment of the jury verdict is contrary to the Supreme Court’s repeated instruction “not ... to substitute its own opinion for the [state court’s] determination.” Ayala, 135 S.Ct. at 2202. At this point, the Supreme Court’s AEDPA instructions to the Ninth Circuit might sound like a broken record. See Visciotti, 537 U.S. at 22-27, 123 S.Ct. 357; Deck v. Jenkins, 814 F.3d 954, 986-87 &amp; n.1 (9th Cir. 2016) (en banc) (M. Smith, J., dissenting) (citing Supreme Court cases reversing Ninth Circuit’s grant of AEDPA relief)- The majority blithely marches forward to the beat of its own drum, however, substituting its judgment for that of the state supreme court. It discounts Debbie Sportsman’s “few circumstantial statements” regarding Hardy’s role in the murders. Maj. Op. 1139-40. It also discredits Colette Mitchell’s testimony, cherry-picking statements from the state court opinion that acknowledge weaknesses in her testimony. Maj. Op. 1139-40. But the California Supreme Court made those acknowledgments only for purposes of assessing Hardy’s guilt as the actual killer and plainly accepted Colette’s testimony as supporting the jury’s conspiracy verdict.9 See Hardy, 41 Cal.4th at 1023-25, 1028-30, 63 Cal.Rptr.3d 845, 163 P.3d 853. Only by substituting its evaluation of the evidence for that of the jury — the vqry process forbidden by the Supreme Court — can the majority conclude that the California Supreme Court’s decision was unreasonable.
V. Conclusion
The California Supreme Court’s meticulous opinion comports with Strickland. The court recited Strickland’s, “reasonable probability” standard and faithfully applied it, inquiring whether counsel’s inadequate performance would have undermined confidence in the guilty verdict. The court concluded that the representation undermined the theory that Hardy actually stabbed the victims, thus prejudicing the death penalty verdict and justifying its vacatur. The court found no additional prejudice to the conviction, however, because critical post-conviction evidence did not blot out the substantial trial evidence establishing that Hardy conspired to commit, and aided and abetted, the murders. This was not an objectively unreasonable conclusion given the overwhelming evidence connecting Hardy to the conspiracy. And even if the conclusion were erroneous, ¡under AEDPA, we are not authorized to r^-weigh the evidence to correct it.
This is not the first time that we have gotten the “unreasonableness question” wrong. In Richter, the Supreme Court reprimanded us for
treating] the unreasonableness question as a test of its confidence in the result it *1154would reach under de novo review: Because the Court of Appeals had little doubt that Richter’s Strickland claim had merit, the Court of Appeals concluded the state court must have been unreasonable in rejecting it. This analysis overlooks arguments that would otherwise justify the state court’s result and ignores further limitations of § 2254(d), including its requirement that the state court’s decision be evaluated according to the precedents of this Court. It bears repeating that even a strong case for relief does not mean the state court’s contrary conclusion was unreasonable.
562 U.S. at 102, 131 S.Ct. 770 (internal citation omitted). The majority in this case commits the very same error. See, e.g., Ayala, — U.S. -, 135 S.Ct. 2187, 192 L.Ed.2d 323; Visciotti, 537 U.S. 19, 123 S.Ct. 357, 154 L.Ed.2d 279; Williams, 529 U.S. 362, 120 S.Ct. 1495, 146 L.Ed.2d 389. I agree with the justices of the California Supreme Court, the United States magistrate judge and the United States district judge that Hardy’s request for habeas relief should be denied.
Somehow the Supreme Court’s instructions, as plain as they are, seem to have fallen on deaf ears. My hearing is not so dull. Because the majority has turned a blind eye to AEDPA and the Court’s interpretation of it, I dissent.

. In 2010, Hardy was re-sentenced to two consecutive life terms without the possibility of parole plus a consecutive prison term of 25 years to life.


. The standard quoted in Avena is excerpted from Strickland. Avena, 12 Cal.4th at 721, 49 Cal.Rptr.2d 413, 909 P.2d 1017 (quoting Strickland, 466 U.S. at 694, 104 S.Ct. 2052).


. Although the California Supreme Court cites to its decision in Thomas, Thomas expressly relies on Rompilla’s prejudice ap*1149proach. Thomas, 27 Cal.4th at 1265, 120 Cal.Rptr.2d 432, 47 P.3d 225.


. See Hardy, 41 Cal.4th at 1029, 63 Cal.Rptr.3d 845, 163 P.3d 853 ("there is ample evidence showing [Hardy] participated in the plan to kill the victims as part of a wider conspiracy”); id. at 1030, 63 Cal.Rptr.3d 845, 163 P.3d 853 ("For much the same reasons we found substantial evidence supported a conspiracy theory of liability for first degree murder, we also find substantial evidence supports an aiding and abetting theory of liability. To recap: Overwhelming evidence tied Reilly to the conspiracy and the murders ..id. ("[W]e conclude that although there is a reasonable probability the jury would not have convicted [Hardy] on the prosecution's proffered theory that he was the actual killer, ample evidence remains that’ [he] was guilty of the murders on the alternative theories[.]”); id. at 1036, 63 Cal.Rptr.3d 845, 163 P.3d 853 ("there being ample evidence [Hardy] was a coconspirator in the scheme to kill the victims”).


. The missing evidence did, however, carry weight with respect to the sentence, as it tended to show Hardy might not have played the lead role in the murder conspiracy. Accordingly, the state court remanded for re-sentencing.


. This presumption is especially compelling here, where the state court knew when to examine the record for substantial evidence— i.e., when reviewing tire factual and credibility determinations of the reference hearing referee. Hardy, 41 Cal.4th at 993, 63 Cal.Rptr.3d 845, 163 P.3d 853 ("[W]e give great weight to those of the referee's findings that are supported by substantial evidence. This is especially true for findings involving credibility determinations.... [Hardy] is entitled to challenge the referee's findings, both on the ground that they are not supported by substantial evidence and for accuracy[.]”); Maj. Op. 1136 n.5 (acknowledging proper application of “substantial evidence” standard to referee findings).


. As recited by the California Supreme Court:
A conspiracy is an agreement entered into between two or more persons with the specific intent to agree to commit a public offense and with the further specific intent to commit such offense, followed by an overt act committed in this state by one or more of the parties for the purpose of accomplishing the object of the agreement. In order to find a defendant guilty of conspiracy, in addition to proof of the unlawful agreement and specific intent, there must be proof of the commission of at least one of the overt acts alleged in the information. It is not necessary to the guilt of any particular defendant that he himself committed the overt act, if he was one of the conspirators when such an act was committed.
Hardy, 41 Cal.4th at 1027, 63 Cal.Rptr.3d 845, 163 P.3d 853 (quoting jury instructions).


. The majority asserts that the observations the state supreme court made in rejecting Hardy's claim of innocence are "equally applicable” to his ineffective assistance of counsel claim. Maj. Op. 1137-38. The rationale is flawed, however, because actual innocence claims and ineffective assistance of counsel claims are governed by separate and distinct legal standards. Compare Hardy, 41 Cal.4th at 1016, 1018, 63 Cal.Rptr.3d 845, 163 P.3d 853 (rejecting actual innocence claim where "the allegations ... fail to undermine the prosecution’s entire case against [Hardy] or point unerringly to his innocence or reduced culpability”), with id. at 1036, 63 Cal.Rptr.3d 845, 163 P.3d 853 (rejecting ineffective assistance of counsel claim where the "new evidence does not undermine our confidence that the jury would nevertheless have convicted [Hardy] of murder by relying on a conspiracy theory”).

